Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 1 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 2 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 3 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 4 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 5 of 31




                           EXHIBIT 1
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 6 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 7 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 8 of 31




                           EXHIBIT 2
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 9 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 10 of 31




                            EXHIBIT 3
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 11 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 12 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 13 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 14 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 15 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 16 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 17 of 31




                            EXHIBIT 4
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 18 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 19 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 20 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 21 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 22 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 23 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 24 of 31




                            EXHIBIT 5
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 25 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 26 of 31




                            EXHIBIT 6
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 27 of 31
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 28 of 31




                            EXHIBIT 7
Wires Log Inquiry
                      Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 29 of 31         10/15/2021

Wire Log Details                                      Additional Information
User Correlation:                         797A007V
                                                      Wire Type 10/00 was successfully sent to   for
                                                      1054921.21.
Date:                                    10/15/2021
Time:                                      13:37:52
Message ID:                                 FTFR12
Description:
$1,054,921.21 Wire Acknowledged by FRB
Program:                                 WTTRNACK
Procedure Name:
Function Code:                                   S
Workstation ID:
JX42797C
User:
JXCHANGT01
Error Code:
Line Number:
Description:
Sending ABA:
Receiving ABA:
ID Code/Identifier:
401446882 D
IMAD Sequence:


FRB Sequence:
OMAD Sequence:


FRB Sequence:




MOUNTAIN VALLEY BANK                                                                                       Page 1
Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 30 of 31




                            EXHIBIT 8
              Case 4:22-cv-00202 Document 66-1 Filed on 08/12/22 in TXSD Page 31 of 31




July 26, 2021

Wells Fargo Funds to rebrand as Allspring Funds

Wells Fargo Asset Management (WFAM) today announced that it will be changing its company name to Allspring Global
Investments upon the closing of the previously announced sale transaction of WFAM by Wells Fargo & Company (NYSE:
WFC) to GTCR LLC and Reverence Capital Partners, L.P. The new corporate name is expected to go into effect on or about
the closing date of the transaction, which is anticipated to occur in the second half of 2021, subject to customary closing
conditions.
As part of this transition, all mutual funds within the Wells Fargo Funds family will be rebranded as Allspring Funds.
Additionally, each individual fund will have “Wells Fargo” removed from its fund name and will be replaced with “Allspring.”
The fund name changes are expected to go into effect on October 11, 2021.
Following the closing of the transaction, Wells Fargo Funds Management, LLC, the fund’s investment manager; Wells Capital
Management Incorporated and Wells Fargo Asset Management (International) Limited, each subadvisors to certain funds;
and Wells Fargo Funds Distributor, LLC, the funds’ principal underwriter, will each migrate to the Allspring name.

Will all individual funds be renamed?
Yes. All Wells Fargo open- and closed-end funds will be renamed.

When will the fund name changes take place?
The effective date of the new fund names is expected to be October 11, 2021.

When will marketing and communications materials be updated to reflect the Allspring brand?
Marketing and communications materials will begin to be updated with the Allspring brand at the closing date of the
transaction.
Stock values fluctuate in response to the activities of individual companies and general market and economic conditions.
Bond values fluctuate in response to the financial condition of individual issuers, general market and economic conditions,
and changes in interest rates. Changes in market conditions and government policies may lead to periods of heightened
volatility in the bond market and reduced liquidity for certain bonds held by the fund. In general, when interest rates rise,
bond values fall and investors may lose principal value. Interest rate changes and their impact on the fund and its share price
can be sudden and unpredictable. Some funds, including nondiversified funds and funds investing in foreign investments,
high-yield bonds, small- and mid-cap stocks, and/or more volatile segments of the economy, entail additional risk and may
not be appropriate for all investors. Consult a fund's prospectus for additional information on these and other risks.
Carefully consider a fund’s investment objectives, risks, charges, and expenses before investing. For a current prospectus and, if
available, a summary prospectus, containing this and other information, visit wfam.com. Read it carefully before investing.
Wells Fargo Asset Management (WFAM) is the trade name for certain investment advisory/management firms owned by Wells Fargo & Company. These
firms include but are not limited to Wells Capital Management Incorporated and Wells Fargo Funds Management, LLC. Certain products managed by
WFAM entities are distributed by Wells Fargo Funds Distributor, LLC (a broker-dealer and Member FINRA).

This material is for general informational and educational purposes only and is NOT intended to provide investment advice or a recommendation of any
kind—including a recommendation for any specific investment, strategy, or plan. PAR-0721-00895

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